             Case: 4:14-cv-00832-DCN Doc #: 194 Filed: 10/16/18 1 of 1. PageID #: 9413


                                                        United States District Court
                                                         Northern District of Ohio

                                             Non-Appeal Transcript Order
 To Be Completed by Ordering Party

 Court Reporter                                                           Judicial Officer

 Requested by:               Stuart E. Scott                                                 Phone         216-696-3232

 Case Name           Meta v. Target

 Case Number                 4:14-cv-00832-DCN Date(s)ofProceedings                      8/7/2018

 Today's Date        10/15/218                           Requested Completion Date

  Financial arrangements must be made with the court reporter i A ,Ire an • f is prepared. If the method of
        payment is authorized under CJA,submit the AUTH-24 \ h c \ icli CJA eVoucher System

 Email Address               jklein@spanglaw.com

                                                                                             S     a ur   Ordering Party

                                                        Maximum Ra e Per Page

                                                                                                          First Copy to    Each add'I
                               Transcript Type                                         Original
                                                                                                           each party        Copy

 Ordinary: A transcript to be delivered within thirty (30)days after                   ❑         $3.65             $0.90         $0.60
                                                                                                           11
 receipt oforder.

 14-Day Transcript: A transcript to be delivered within fourteen (14)
 days after receipt of an order.
                                                                                                 $4.25             $0.90   ri $0.60
 Expedited/7-Day Transcript: A transcript to be delivered
 within seven(7)days after receipt oforder.
                                                                                     ri          $4.85     r       $0.90   ri $0.60
                                                                                                            —
3-Day Transcript: A transcript to be delivered within three(3)days
after receipt oforder.
                                                                                     r           $5.45             $1.05   n $0.75
Daily: A transcript to be delivered prior to the normal opening hour ofthe                                                 —
Clerk's Office on the calendar day following receipt ofthe order, regardless of        ■         $6.05     n       $1.20         $0.90
whether or not that calendar day is a weekend or holiday.

Hourly: A transcript of proceedings to be delivered within                                       $7.25     ❑       $1.20   ri $0.90
two(2)hours from receipt ofthe order.                                                  ❑

Realtime Unedited Transcript: A draft unedited transcript                          0             $3.05
produced by a certified realtime reporter as a byproduct of realtime to be
delivered electronically during proceedings or immediately following              One feed,$3.05
receipt of the order.                                                             per page; two to
                                                                                  four feeds,$2.10
                                                                                  per page; five or
                                                                                  more feeds,
                                                                                  $1.50 per page.

Local Civil Rule 80.1/Criminal Rule 57.20 of the Northern District of Ohio requires transcript requests to be addressed to the court
 reporter who took the proceeding and filed with the Clerk of Court. Please electronically file the form and the appropriate court
                                  reporter and court staff will receive notification of the filing.
